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                        Exhibit A
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                    v.                                                           22-CR-109-V

PAYTON GENDRON,

                                      Defendant.



                     GOVERNMENT’S PROPOSED SCHEDULING ORDER


Feb. 16, 2024:               Completion of non-expert Fed. R. Crim. P. 16 discovery for all parties;
                             the United States shall make available to the defendant, by the time
                             required by the applicable law, all material for which disclosure is
                             mandated by Brady v. Maryland, 373 U.S. 83 (1963). 1

March 1, 2024:               Defense discovery motions

March 15, 2024:              Responses to defense discovery motions

April 15, 2024:              1) Constitutional motions relating to capital punishment, including, but
                             not limited to, challenges to the Federal Death Penalty Act, per se
                             challenges to the death penalty, any claim that the government is
                             categorically precluded from seeking the death penalty due to the age
                             and/or mental health of the defendant, and challenges to Special
                             Findings in the Indictment

                             2) Motion(s) to Dismiss/Strike the Special Findings in the Indictment
                             and/or Notice of Intent to Seek the Death Penalty, including motions
                             attacking the sufficiency of notice and/or validity of aggravating factors

                             3) Challenges to Death Qualification

                             4) Defense to provide reciprocal discovery pursuant to Fed. R. Crim. P.
                             16(b)(1)

May 24, 2024:                Government responses to capital motions



1
    This deadline is subject to the parties’ continuing discovery obligations.
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June 10, 2024:            Replies re: capital motions

June 17-21, 2024:         Hearing re: capital motions, if necessary

July 8, 2024:             1) Defense motions challenging the constitutionality of substantive
                          offenses, including hate crimes statutes, charged in the Indictment

                          2) Pretrial motions, including but not limited to:

                              •    Bill of Particulars
                              •    Venue
                              •    Defects in Instituting Prosecution
                              •    Selective Prosecution
                              •    Challenges to Grand Jury
                              •    Motions to Suppress
                              •    Challenges to Victim Impact Evidence

July 15, 2024:            The parties are directed to confer on the matter of jury selection
                          procedures and to submit by this date a joint proposal regarding any
                          areas of common agreement and separate proposals regarding any areas
                          in dispute.

Aug. 7, 2024:             1) Responses to pretrial motions

                          2) Responses to proposed jury selection procedures in dispute

Aug. 14, 2024:            Replies re: pretrial motions and proposed jury selection procedures

Aug. 26-28, 2024:         Hearings on pretrial motions and jury selection procedures, if necessary 2

Oct. 14, 2024:            1) Defense notice of intent to introduce expert evidence on a mental
                          condition bearing on the issue of guilt or punishment pursuant to Fed.
                          R. Crim. P. 12.2(b)(1) and (2) 3

                              •    Defendant’s notice shall include the name and professional
                                   qualifications of any mental health professional who will testify
                                   as an expert and a brief, general summary of the topics to be
                                   addressed sufficient to permit the government to determine the
                                   area in which its expert must be versed.


2
  The Court will subsequently issue an order that will govern jury selection, including, but not limited, to dates
and methods for prospective jurors to complete questionnaires, the parties to review questionnaires and propose
strikes, in-court voir dire, and execution of peremptory strikes.
3
  Unless either party subsequently requests alternative procedures, maintenance and disclosure of all results and
reports of mental health examinations conducted pursuant to Fed. R. Crim. P. 12.2 shall be governed by Fed.
R. Crim. P. 12.2(c).

                                                        2
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                       •   If defendant provides such notice, defendant shall be examined
                           by a corresponding mental health professional or professionals
                           selected by the government for purposes of rebuttal pursuant to
                           Fed. R. Crim. P. 12.2(c)(1).

                    2) Government and defense disclosures of guilt-phase non-mental
                    health expert summaries pursuant to Fed. R. Crim. P. 16(a)(1)(G) and
                    (b)(1)(C)

                    3) Deadline for defendant to raise claims under Atkins v. Virginia, 536
                    U.S. 304 (2002). If notice is provided, a separate litigation schedule will
                    be developed.

                    4) Deadline for defendant to raise issues of competency. If no motion
                    is filed, the defense shall file an ex parte declaration under seal explaining
                    why. If the defendant files a motion, a separate litigation schedule will
                    be developed.

Nov. 4, 2024:       1) Disclosure of expert reports for experts identified in response to the
                    parties’ October 14, 2024, disclosures of guilt-phase non-mental health
                    expert summaries

                    2) Challenges to any October 14, 2024, guilt-phase, non-mental health
                    expert disclosures

Nov. 18, 2024:      Responses to challenges to guilt phase non-mental health experts

Nov. 22, 2024:      Disclosure of penalty phase non-mental health expert reports pursuant
                    to Fed. R. Crim. P. 16(a)(1)(G) and (b)(1)(C)

Dec. 6, 2024:       1) Disclosure, if any, of expert reports for experts identified in response
                    to the parties’ November 22, 2024, disclosure of penalty phase non-
                    mental health expert reports

                    2) Challenges to November 22, 2024, expert disclosures, if any

Dec. 18, 2024:      The parties must confer on the matter of a jury questionnaire and submit
                    by this date a joint proposed questionnaire, if possible, as well as
                    separate proposals regarding any areas in dispute.

Dec. 20, 2024:      Responses to challenges to penalty phase non-mental health experts

Jan. 13-15, 2025:   Hearings re: jury questionnaire and challenges to experts, if necessary




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Feb. 10-14, 2025:          Completion of jury questionnaires 4

Feb. 21, 2025:             1) The parties are directed to confer on the matter of jury instructions
                           and verdict forms for all phases of the trial and to submit by this date a
                           joint proposal regarding any areas of common agreement and separate
                           proposals regarding any areas in dispute.

                           2) Motions in limine regarding both the guilt and sentencing phases of
                           trial

                           3) Government guilt- and penalty-phase witness and exhibit lists

March 7, 2025:             1) Responses to jury instruction proposals in dispute

                           2) Responses to motions in limine

                           3) Defense guilt-phase witness and exhibit list

March 14, 2025:            Defense penalty-phase witness list and list of proposed mitigating
                           factors

March 17, 2025:            1) Replies re: jury instruction proposals in dispute

                           2) Replies re: motions in limine

March 19, 2025:            Parties to confer and provide to the Court by this date 1) a list of agreed-
                           upon motions to strike prospective jurors based on questionnaire
                           responses; and 2) lists of non-agreed upon motions to strike prospective
                           jurors based on questionnaire responses.

March 24-28, 2025: 1) Hearing, if necessary, on jury instructions and verdict form, motions
                   in limine, and any disputes regarding witness lists

                           2) Hearing, if necessary, on challenges to prospective jurors based on
                           questionnaire responses

April 14, 2025:            Commence voir dire; trial to begin immediately after the conclusion of
                           the jury selection process




4
 Subject to negotiations of the parties and litigation related to jury selection procedures, it is generally expected
that the Court will summon large groups to the United States Courthouse or another agreed-upon location to
complete the jury questionnaires. Groups will be summoned in the morning and afternoon each day. The jury
administrator will make completed questionnaires available to the parties on a rolling basis as soon as possible
after each group completes the questionnaires.

                                                         4
